C. W. SEIBERLING, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Seiberling v. CommissionerDocket No. 14089.United States Board of Tax Appeals13 B.T.A. 55; 1928 BTA LEXIS 3321; July 25, 1928, Promulgated *3321  Petitioner in 1920 loaned stock to several persons to enable them to pledge such stock as additional collateral in respect of debts incurred in the purchase of other stock.  Collateral was not sold or forfeited in 1920.  Held that deductibel loss was not established.  E. W. Wallick, Esq., and Ben Jenkins, Esq., for the petitioner.  W. F. Wattles, Esq., for the respondent.  STERNHAGEN *55  Petitioner attacks respondent's determination of a deficiency of $30,878.39, income tax for 1920.  He claims a deduction for loss in respect of stock loaned to several individuals and also that the measure of a loss resulting from a loan to one Zigler should be based upon a cost higher than that recognized by respondent.  FINDINGS OF FACT.  The petitioner was in 1920 a resident of Ohio and vice president of the Goodyear Tire &amp; Rubber Co.  Between May 15, 1909, and November 13, 1920, inclusive, he had at various times acquired an aggregate of 37,735.30 shares of Goodyear *56  stock, of which 32,512.70 shares had been acquired by stock dividends and 5,222.60 by purchase or otherwise.  During this period he had in one way or another disposed*3322  of 4,917.30 shares, leaving him on November 13, 1920, the owner of 32,818 shares.  On February 21, 1913, a sale of Goodyear stock had been made on the Cleveland Stock Exchange at $365 per share.  Between April 14, 1914, and March 17, 1917, inclusive, this stock had been variously priced either in actual transactions or in market quotations at figures ranging from $173 per share to $340 per share.  On March 17, 1917, a sale occurred at $280.  On September 29, 1920, 10 shares were sold at $75, and the stock exchange quotations were 85 1/2 high and 80 low.  From this date the price went steadily downward, and on December 23, 1920, was quoted at 22 3/4 high and 17 low.  In 1920 some of the employees of the Goodyear Company were indebted in various amounts to various creditors either for the purchase of Goodyear stock or otherwise, and had pledged their stock as collateral for such indebtedness.  As the market value of the Goodyear stock went down the creditors of these employees demanded payment or additional security.  At the request of such employees the petitioner loaned to them in 1920 various amounts of Goodyear stock and in each instance took from the borrower a receipt in the*3323  following form: Received of C. W. Seiberling as a loan the following certificates of common stock of The Goodyear Tire and Rubber Company to be used as additional collateral for my loan at .  Said certificates to be returned to said C. W. Seiberling when loan has been paid.  At the end of 1920 the stock borrowed by Zigler had been sold by the creditors and the entire proceeds applied to Zigler's debt.  The remaining shares were still being held as collateral.  In some cases the collateral was sold after 1920.  In some cases the borrower of the stock was in poor financial condition.  In some cases the petitioner has not since 1920 received the return of the stock or any payment therefor.  OPINION.  STERNHAGEN: The petitioner claims the right to deduct as a loss sustained in 1920 an alleged value of the stock loaned by the petitioner to various employees of the Goodyear Company to enable them to carry their accounts.  In our opinion the claim must fail for several reasons.  The stock represented merely a loan by the petitioner, and its sale by the bank did not necessarily reflect a final loss to the petitioner.  He might still look for reimbursement from his individual debtor*3324  who borrowed the stock.  Furthermore, in most instances the stock *57  held as collateral had in 1920 not yet been sold.  Obviously, the petitioner could not claim a loss if he voluntarily relinquished his right against the borrower or refrained from exercising it.  This would be particularly true in cases where the borrower of the stock was otherwise financially able to pay.  But even assuming that at the end of 1920 some of this stock was irrevocably gone without hope of any recoupment, the basis for deductible loss is not in evidence.  As to such stock as was acquired prior to March 1, 1913, the loss would be based upon the lower of cost or value on March 1, 1913.  ; . The cost is not in evidence.  As to the stock acquired subsequent to March 1, 1913, the basis would be cost, and this figure is likewise not in evidence, either as to stock purchased or that acquired by stock dividend.  . It can not be said that the stock market quotations appearing in the record represent the cost to the petitioner. *3325  Since, therefore, the evidence falls short of establishing either the fact that a loss was sustained in 1920 or the basis upon which a loss may be measured, the respondent is sustained.  As to the loss claimed in respect of stock loaned to Zigler, the respondent allowed a deduction upon the basis of an alleged cost of $8.08 per share.  The petitioner has not established that this basis is incorrect and the respondent is therefore sustained.  Judgment will be entered for the respondent.